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 3                                                                          Jun 09 2020
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                                                                               s/ mariar

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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                            Case No.: 18CR3656-JLS
12                                       Plaintiff,
                                                          FINDINGS AND
13   v.                                                   RECOMMENDATION OF THE
                                                          MAGISTRATE JUDGE UPON A
14   David Williams Haas ,
                                                          PLEA OF GUILTY
15                                     Defendant.
16
17           Upon Defendant’s request to enter a guilty plea to Count(s) 1 of the Indictment
18   pursuant to Rule 11 of the Federal Rules of Criminal Procedure, this matter was referred
19   to the Magistrate Judge by the District Judge, with the verbal consents of the Defendant,
20   counsel for the Defendant, and counsel for the United States.
21           Thereafter, the matter came on for a hearing on Defendant’s guilty plea, in full
22   compliance with Rule 11, Federal Rules of Criminal Procedure, and the CARES Act before
23   the Magistrate Judge, via videoconference with the consent of the Defendant and on the
24   record.
25           In consideration of that hearing and the allocution made by the Defendant under oath
26   on the record and in the presence of counsel, and the remarks of the Assistant United States
27   Attorney, I make the following FINDINGS - that the Defendant understands:
28   //

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 1                                              FINDINGS
 2           1.    The government’s right, in a prosecution for perjury or false statement, to use
 3                 against the defendant any statement that the defendant gives under oath;
 4           2.    The right to persist in a plea of “not guilty”;
 5           3.    The right to a speedy and public trial;
 6           4.    The right to trial by jury, or the ability to waive that right and have a judge try
 7                 the case without a jury;
 8           5.    The right to be represented by counsel - and if necessary to have the court
 9                 appoint counsel - at trial and at every other stage of the proceeding;
10           6.    The right at trial to confront and cross-examine adverse witnesses, to be
11                 protected from compelled self-incrimination, to testify and present evidence,
12                 and to compel the attendance of witnesses;
13           7.    The defendant’s waiver of these trial rights if the court accepts a guilty plea
14                 or nolo contendere;
15           8.    The nature of each charge to which the defendant is pleading;
16           9.    Any maximum possible penalty, including imprisonment, fine, and term of
17                 supervised release;
18           10.   Any applicable mandatory minimum penalty;
19           11.   Any applicable forfeiture;
20           12.   The court’s authority to order restitution [if applicable];
21           13.   The court’s obligation to impose a special assessment;
22           14.   In determining a sentence, the court’s obligation to calculate the applicable
23                 sentencing guideline range and to consider that range, possible departures
24                 under the Sentencing Guidelines, and other sentencing factors under 18 U.S.C
25                 § 3553(a);
26           15.   Any provision in the plea agreement whereby defendant waives the right to
27                 appeal or to collaterally attack the conviction and sentence; and
28   //

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 1         16.   That, if convicted, a defendant who is not a United States citizen may be
 2               removed from the United States, denied citizenship, and denied admission to
 3               the United States in the future.
 4         I further find that:
 5         17.   The defendant is competent to enter a plea;
 6         18.   The defendant’s guilty plea is made knowingly and voluntarily, and did not
 7               result from force, threats or promises (other than those made in a plea
 8               agreement); and
 9         19.   There is a factual basis for Defendant’s plea.
10                                   RECOMMENDATION
11         I therefore recommend that the District Judge accept the Defendant’s guilty
12   plea to Count(s) 1 of the Indictment .
13         The sentencing hearing will be before United States District Judge
14   Janis L. Sammartino, on August 28, 2020 at 9:00 AM. The Court excludes time from
15   June 9, 2020, through August 28, 2020 pursuant to 18 USC § 3161(h)(1)(G) on the ground
16   that the District Judge will be considering the proposed plea agreement.
17         The parties have waived the preparation of a Presentence Report and any objections
18   to these Findings and Recommendations must be filed before the sentencing hearing or
19   made during the sentencing hearing.
20   Dated: June 9, 2020
21                                         ________________________________________
                                           Honorable Michael S. Berg
22
                                           United States Magistrate Judge
23
24
25   Copies to:
     District Judge Janis L. Sammartino
26
     Assistant United States Attorney
27   Counsel for Defendant
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